                IN THE UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF MISSOURI
                             SOUTHERN DIVISION

UNITED STATES OF AMERICA,                          )
                                                   )
                     Plaintiff,                    )
                                                   )      No. 05-03142-03-CR-S-DW
v.                                                 )
                                                   )
VONNIE E. YOUNG,                                   )
                                                   )
                     Defendant.                    )

                                         ORDER
       Before the Court is Magistrate Judge James C. England’s Report and Recommendation

(Doc. 50) to deny Defendant Vonnie E. Young’s motion to suppress (Doc. 30). Young objects to

the Report and Recommendation (Doc. 53). After an independent review of the transcript of the

evidentiary hearing, the applicable law, and the parties’ arguments, the Court ADOPTS the

Magistrate’s proposed findings of fact and conclusions of law. Accordingly, the Court ORDERS

that the Magistrate’s Report and Recommendation be attached to and made a part of this Order

and DENIES Young’s motion to suppress (Doc. 30).

       SO ORDERED.

                                                               /s/ DEAN WHIPPLE
                                                                  Dean Whipple
                                                                United States District Judge

Date: November 21, 2006




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